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                    EXHIBIT 4
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Rothstein, James K.

From:                    V. David Rivkin <david.rivkin@wg-law.com>
Sent:                    Thursday, December 10, 2020 1:24 PM
To:                      Rothstein, James K.
Cc:                      Eberhart, David R.
Subject:                 Re: Elastic




[EXTERNAL MESSAGE]

James,
I certainly don’t know first hand, but my strong suspicion is that he would not be available to be deposed before
the end of discovery. As I mentioned on our call, if he is still unable to participate in the deposition before fact
discovery ends, we would be amenable to a limited extension of discovery to depose him when he is
         .
Regards,
David

Sent from my iPhone

On Dec 10, 2020, at 4:19 PM, Rothstein, James K. <jrothstein@omm.com> wrote:


Thank you David. Do you have any indication regarding how long Mr. Saly
will be unavailable and/or any update on the likelihood that he will be
available to be deposed before the close of fact discovery?


From: V. David Rivkin <david.rivkin@wg-law.com>
Sent: Thursday, December 10, 2020 12:51 PM
To: Rothstein, James K. <jrothstein@omm.com>; Eberhart, David R. <deberhart@omm.com>
Subject: RE: Elastic


[EXTERNAL MESSAGE]

I asked about that. They expect to receive the next certificate soon, and I will forward when they get it.
Best,
David

WUERSCH & GERING

V. David Rivkin | Partner
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3 Please consider the environment before printing this e-mail!
From: Rothstein, James K. <jrothstein@omm.com>
Sent: Thursday, December 10, 2020 3:48 PM
To: V. David Rivkin <david.rivkin@wg-law.com>; Eberhart, David R. <deberhart@omm.com>
Subject: RE: Elastic

David,

Once again, thank you for these. It looks like the latest of these
            expired on 12/7. (DEF050009.) Would you please let us know if
there has been another                    (and if so, send us a copy), and in
the interim, let us know if you know the duration of any new claim of


Thank you very much.

Regards,
James


James K. Rothstein
O'Melveny & Myers LLP
Two Embarcadero Center, 28th Fl.
San Francisco, CA 94111
Office: +1-415-984-8852
iPhone: +1-201-410-1230
jrothstein@omm.com

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From: V. David Rivkin <david.rivkin@wg-law.com>
Sent: Monday, December 7, 2020 12:51 PM
To: Eberhart, David R. <deberhart@omm.com>
Cc: Rothstein, James K. <jrothstein@omm.com>
Subject: RE: Elastic


[EXTERNAL MESSAGE]

David, James,
                                                                           2
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Attached are copies of                           The redactions are for
                      . All other info is un-redacted, but produced on an AEO basis.
Best regards,
David

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From: V. David Rivkin
Sent: Sunday, December 6, 2020 2:46 PM
To: 'Eberhart, David R.' <deberhart@omm.com>
Cc: 'Rothstein, James K.' <jrothstein@omm.com>
Subject: RE: Elastic

David, James,
We will get them to you no later than tomorrow (Monday).
Best,
David

From: V. David Rivkin
Sent: Sunday, December 6, 2020 11:53 AM
To: 'Eberhart, David R.' <deberhart@omm.com>
Cc: Rothstein, James K. <jrothstein@omm.com>
Subject: RE: Elastic

Hi David,
Thanks for this. I will try to get these to you. Let me check with the client and get back to you by tomorrow.
Best,
David

From: Eberhart, David R. <deberhart@omm.com>
Sent: Friday, December 4, 2020 5:51 PM
To: V. David Rivkin <david.rivkin@wg-law.com>
Cc: Rothstein, James K. <jrothstein@omm.com>
Subject: RE: Elastic

Hi David --

You mentioned on our call that Mr. Saly has supplied                             (or the like) from                to floragunn regarding
                 . Please provide copies

Sincerely,

David
                                                                        3
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From: Eberhart, David R. <deberhart@omm.com>
Sent: Tuesday, December 1, 2020 2:43 PM
To: V. David Rivkin <david.rivkin@wg-law.com>
Cc: Rothstein, James K. <jrothstein@omm.com>
Subject: RE: Elastic

Hi David --

Thanks for the quick response. We will treat the information as confidential. I don’t know whether we would challenge
that designation in the future; if we did, we would follow the procedures in the protective order.

Sincerely,

David

From: V. David Rivkin <david.rivkin@wg-law.com>
Sent: Tuesday, December 1, 2020 2:13 PM
To: Eberhart, David R. <deberhart@omm.com>
Cc: Rothstein, James K. <jrothstein@omm.com>
Subject: RE: Elastic


[EXTERNAL MESSAGE]

Hi David,
I head back from fg’s German counsel. Your proposal is acceptable so long as the information is treated as Confidential
as described in Section 7.2 of the protective order, which would, of course, allow disclosure to your client in accordance
with 7.2(b) .
Best regards,
David

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From: V. David Rivkin
Sent: Tuesday, December 1, 2020 4:15 PM
To: 'Eberhart, David R.' <deberhart@omm.com>
Cc: Rothstein, James K. <jrothstein@omm.com>
Subject: RE: Elastic

Hi David,
I will check and get back to you ASAP.
                                                                        4
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Best,
David

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From: Eberhart, David R. <deberhart@omm.com>
Sent: Tuesday, December 1, 2020 4:07 PM
To: V. David Rivkin <david.rivkin@wg-law.com>
Cc: Rothstein, James K. <jrothstein@omm.com>
Subject: Elastic

David:

We need to update our client on the Saly deposition and our conversation yesterday. We propose to share the
following: you informed us that (a) Mr. Saly has been on              from floragunn continuously from March 2020 to
the present; (b) his                  precludes his deposition in December; and (c) you do not know when
may permit a deposition.

Please let us know whether this is acceptable.

Sincerely,

David

O’Melveny
David R. Eberhart
deberhart@omm.com
O: +1-415-984-8808

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San Francisco, CA 94111
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